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UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

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HERIBERTO TORIBIO-RUIZ
#86947
Plaintiff,
Case No. 3:17-cv-00674-MMD-CLB
Mi
ORDER TO TRANSPORT
ISIDRO BACA, et al., PLAINTIFF AND ORDER TO TEST
. . NDOC INMATE FOR IN-PERSON
Defendants. COURT PROCEEDINGS

 

 

 

 

The Court scheduled an in-person jury trial on December 13, 2021 (ECF No. 91). This
case is set for the stacked December 13, 2021 trial calendar.

IT IS ORDERED that the Nevada Department of Corrections (NDOC) shall transport
inmate HERIBERTO TORIBIO-RUIZ, NDOC #86947, to the Bruce R. Thompson Federal
Courthouse, 400 S. Virginia Street, Reno, Nevada, to personally attend the jury trial scheduled
to begin on December 13, 2021, at 1:00 PM in Reno Courtroom 5 before the Honorable
Miranda M. Du.

IT IS FURTHER ORDERED that the Nevada Attorney General’s Office, in
coordination with the NDOC, shall arrange for Plaintiff to be tested for COVID-19 within 14
days of the trial and with Plaintiffs consent, unless Plaintiff was fully vaccinated two weeks
before the start of trial. Additionally, where practicable and depending on space availability,
the NDOC should ensure Plaintiff is placed in quarantine following the test’s administration
and prior to the hearing to protect against further exposure before transport to court.

IT IS FURTHER ORDERD that, if Plaintiff does not consent to testing, or upon a
positive test result, the Nevada Attorney General’s Office shall immediately notify the
presiding judge’s courtroom administrator that Plaintiff cannot be transported to court for the

trial. The presiding judge will decide to either delay the hearing or hold the hearing by video.

 
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IT IS FURTHER ORDERED that the Clerk of Court shall provide a courtesy copy of
this order to the U.S. Marshal’s Office in Reno.

IT IS SO ORDERED.

Dated this 29th Day of November 2021.

 

Honorable Miranda M. Du
CHIEF UNITED STATES DISTRICT JUDGE

 
